         Case 1:21-cv-03031-RJL Document 76 Filed 09/20/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
ASSOCIATION OF AIR MEDICAL                )
SERVICES, et al.,                         )
                                          )
                  Plaintiffs,             )
                                          )
            v.                            )                  No. 1:21-cv-03031-RJL
                                          )
U.S. DEPARTMENT OF HEALTH AND             )                  Consolidated with
HUMAN SERVICES, et al.,                   )                  No. 1:21-cv-03231-RJL
                                          )
                  Defendants.             )
__________________________________________)


 JOINT STIPULATION OF DISMISSAL OF CLAIMS ASSERTED IN CASE 21-cv-3231

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties to Civil

Action No. 21-3231—Plaintiffs American Medical Association, American Hospital Association,

Renown Health, UMass Memorial Health Care, Inc., Stuart M. Squires, M.D., and Victor F. Kubit,

M.D., and Defendants U.S. Department of Health and Human Services, Secretary Xavier Becerra,

U.S. Office of Personnel Management, Director Kiran Ahuja, U.S. Department of Labor, Secretary

Martin J. Walsh, U.S. Department of the Treasury, and Secretary Janet Yellen—hereby stipulate to

dismissal of the claims asserted in Civil Action No. 21-3231, which was consolidated with Civil

Action No. 21-3031. Each party shall bear its own costs, fees, and expenses.
        Case 1:21-cv-03031-RJL Document 76 Filed 09/20/22 Page 2 of 2




      September 20, 2022                    Respectfully submitted,


  /s/ James E. Tysse                              /s/ Joel L. McElvain
JAMES E. TYSSE                                  BRIAN M. BOYNTON
  D.C. Bar No. 978722                           Principal Deputy Assistant Attorney General
KELLY M. CLEARY
  D.C. Bar No. 985642                           ERIC B. BECKENHAUER
CAROLINE L. WOLVERTON                           Assistant Branch Director
  D.C. Bar No. 496433
DANIEL DAVID GRAVER                             JOEL McELVAIN
  D.C. Bar No. 1020026                          Senior Trial Counsel
KRISTEN E. LOVELAND                             United States Department of Justice
  D.C. Bar No. 1684978                          Civil Division, Federal Programs Branch
Akin Gump Strauss Hauer & Feld LLP              1100 L Street, NW
2001 K Street, N.W.                             Washington, DC 20005
Washington, D.C. 20006                          Phone: (202) 616-8298
Telephone: (202) 887-4000                       Fax: (202) 616-8470
jtysse@akingump.com                             E-mail: Joel.L.McElvain@usdoj.gov
                                                D.C. Bar No. 448431
Counsel to Plaintiffs American Medical
Association, Stuart M. Squires, M.D., and       Counsel to Defendants
Victor F. Kubit, M.D.

  /s/ Chad Golder
CHAD GOLDER
 D.C. Bar No. 976914
American Hospital Association
800 10th Street, N.W.
Two CityCenter, Suite 400
Washington, D.C. 20001
Telephone: (202) 262-4624
cgolder@aha.org
Counsel to Plaintiffs American Hospital
Association, Renown Health, and UMass
Memorial Health Care, Inc.




                                            2
